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7                                             UNITED STATES DISTRICT COURT

8                                           CENTRAL DISTRICT OF CALIFORNIA

9                                                     SOUTHERN DIVISION

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11     PETER MOSES GUTIERREZ JR. ET AL.                             Case No. SA 21-CV-1628-DOC-JDE

12                Plaintiffs,

13
                                                                    SPECIAL MASTERS’ ORDER RE:
14                vs.                                               SUPPLEMENTAL PRE-TRIAL
                                                                    CONFERENCE STATUS REPORT
15

16     AMPLIFY ENERGY CORP. ET AL.,

17                Defendants.

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20      At the request of the Court the parties are directed to submit to the Court and the Special Master Panel a

21   Supplemental Pre-Trial Conference Report on or before 12:00 PM PT, April 7, 2023. The Report should set

22   forth the contentions of each party, a list of witness that may be called, and a brief synopsis of each witness’

23   testimony.

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25           IT IS SO ORDERED.

26           DATED: March 21, 2023
                                                       James
                                                       Jamees SmSmith,
                                                                  mith, Esq.
27
                                                       Special
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           SPECIAL MASTERS’ ORDER RE: SUPPLEMENTAL PRE-TRIAL CONFERENCE
                                   STATUS REPORT
Case 8:21-cv-01628-DOC-JDE Document 712 Filed 03/22/23 Page 2 of 2 Page ID #:20174




1                                          Daniiel G
                                           Daniel  Garrie,
                                                    arrie EEsq.
                                                            sq
                                           Special Master
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3
                                            /s/ Bradley O'Brien
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                                           Bradley O’Brien, Esq.
                                           Special Master
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        SPECIAL MASTERS’ ORDER RE: SUPPLEMENTAL PRE-TRIAL CONFERENCE
                                STATUS REPORT
